United States District Court
Northern District of California

Case 3:22-cr-00281-WHO Document 105

Filed 04/30/25 Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

ALEXANDER BULAZO,
Defendant.

Case No. 22-cr-00281-WHO-1

FINAL VERDICT FORM

United States District Court

Northern District of California

to

Case 3:22-cr-00281-WHO Document 105 Filed 04/30/25 Page 2of2

COUNT ONE:
Embezzlement or Conversion from Employee Pension Benefit Plan, in violation

of Title 18, United States Code, Section 664.

We find the defendant, Alexander Bulazo:

NOT GUILTY GUILTY

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(place an X on the appropriate line)

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When you have reached your unanimous verdict, the Jury foreperson should sign and date

this form and contact the courtroom deputy.

DATED: Hy ‘0 1095 Andel & Jusgena

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